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IN THE UNITED STATES DISTRICT COUR'I` F"‘ED eq , 2
FOR THE WESTERN DISTRICT OF TENNESSEE .- f * .... D.C'_
WESTERN DIVISION
RACHEL KATHRYN WHITE,
Plaintiff,
v. No.Ol-ZISSB

SUNBELT RENTALS, INC.,
A North Carolina Corporation,

Defendant.

 

ORDER GRANTING IN PART AND DENY]NG IN PART
PLAINTIFF'S MOTION IN LIMINE

 

Before the Court is the motion in limine of the Plaintiff, Rachel Kathryn White, filed July
l, 2005. This case involves an on-the-job injury suffered by the Plaintiff during her employment at
the Holiday Inn Memphis East hotel. According to the complaint, an employee of the Defendant,
Sunbelt Rentals, Inc. ("Sunbelt"), a subcontractor, dropped a 5 O-pound counterweight through a glass
sunroof, striking and injuring the Plaintiff as she worked. ln its answer to the amended complaint,
Sunbelt averred that White's employer, Holiday Inn and/or its operator, Six Continents (collectively
referred to herein as the "Employer"),

breached its duty of care with respect to its employee by allowing its employees to
Work underneath the scaffolding that had been erected directly above the employee's
place of work when the employee had expressed fear and concern and had asked if
it Was "safe" to continue to work underneath the scaffold. That the employer knew
that the work Space was unprotected and that its employees were in danger in the
event that anything or anyone fell from the work area above its employeesl That the
failure of the employer to take measures to protect its employees was the sole,
proximate and legal cause of the accident in question, as but for the employee's
presence within a zone of danger, the accident never would have happened and the
employee would never have sustained any injuries.

the docket sheet in compliance

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ln the instant motion, Whitc seeks an order excluding evidence concerning the fault of the Employer,
striking the name of the Employer from the jury verdict form, and striking the allegations contained
in Sunbelt's answer to the amended complaint as to any fault or conduct of the Employer.

ln support of her motion, the Plaintiff refers the Court to two decisions of the Tennessee
Supreme Court. ln Ridings v. Ralnh M. Parsons Co., 914 S.W.Zd 79, 80 (Tenn. 1996), the court
addressed the question of whether a defendant in a personal injury action based on negligence could
assert that the plaintiffs injuries were caused by or contributed to by the employer, even though the
injuries are covered by the state's workers' compensation law.l The court concluded that "the
plaintiffs right to recover on allegations of negligence . . . is determined without reference to the
employer's conduct," as fault is to be limited to the plaintiff and those against whom she has a cause
of action. mg§, 914 S.W.Zd at 83-84.

The following year, the _Iii_di_ng§ decision was challenged in S;nvder v. LTG Lufttechnische
QM, 955 S.W.Zd 252 (Tenn. 1997). Snyder filed a products liability action against the
manufacturer of a machine on which he was injured on the job. My@, 955 S.W.Zd at 253. The
manufacturer, however, contended that the employer‘s alteration or failure to properly maintain the
machine caused the employee's injuries I_d_. at 254. The federal district court hearing the case
certified the question to the Tennessee Supreme Court in light of Mh_ng§ I_d_._

The §M court rejected the defendant‘s call for the reversal of its previous decision and
noted that in l_{@g§, as was the case in M, the defendant sought to assess fault to the employer

by arguing that its actions were the proximate, legal cause of the employee's injuries. Ll_. at 256. The

 

lThe plaintiff could not maintain an action for damages against his employer because of
the exclusive remedy provisions of the workers' compensation statutes E Tenn. Code Ann. §
50-6-108(a).

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court recognized that "[o]fcourse, the employer cannot be found to be the proximate, or legal, cause
of the plaintiffs injuries because the employer is immune from tort liability under [§ 50-6-108(a)].
By enacting [§ 50-6-108(a)], the legislature has already determined that for policy reasons the
employer may not be the legal cause of the plaintiffs injuries." g The court went on to say,
however, that an employer could be found to have been the cause infect of the plaintiffs injuries.2
M., Otherwise, "the defendants would effectively be precluded from presenting a defense." § Upon
review, the court determined thus]y:

[D]efendants in a suit for personal injuries based on allegations of negligence . . .
may introduce relevant evidence at trial that the plaintiffs employer‘s [conduct] was
a cause in fact of the plaintiffs injuries. Put another way, the jury may consider all
evidence relevant to the event leading up to the incident that injured the plaintiff
The defendant[] may not, however, ask the jury to assign fault to the employer. That
is, the defendant[] may not take the legal position that the employer‘s actions were
the legal cause of the plaintiffs injuries The jury should be instructed that it may
consider the actions of the employer only in assessing whether the plaintiff has met
his burden of establishing the elements necessary to recover against the defendant[].
Also, the jury should be instructed that it may not, in making that determination,
assess fault against the employer. Finally, the trial judge should give an instruction
that lets the jury know that the employer‘s legal responsibility will be determined at
a later time or has already been determined in another forum.

 

2Cause in fact and proximate cause are separate elements of a negligence claim.

Cause in fact refers to the cause and effect relationship between the defendant's
tortious conduct and the plaintiffs injury or loss. Thus, cause in fact deals with
the "but for" consequences of an act. The defendant's conduct is a cause of the
event if the event would not have occurred but for that conduct. In contrast,
proximate cause, or legal cause, concerns a determination of whether legal
liability should be imposed where cause in fact has been established Proximate
or legal cause is a policy decision made by the legislature or the courts to deny
liability for otherwise actionable conduct based on considerations of logic,
common sense, policy, precedent and "our more or less inadequately expressed
ideas of what justice demands or of what is administratively possible and
convenient "

_I_d_. at 256 n.6 (internal citations omitted).

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l_cla at 256~57 (emphasis added.)

According to the case law, the Defendant is not permitted to posit that any conduct on the
part of the Employer was the legal cause of the Plaintiffs injury. Thus, the allegation contained in
Sunbe]t's answer to the amended complaint to that effect is hereby STRlCKEN. Similarly, as the
Defendant is precluded from asking the jury to assign fault to the Employer, any reference to Holiday
lnn or Six Continents is STRICKEN from the verdict form.

ln addition, the Plaintiffs motion to exclude the introduction of any evidence at trial to show
that the Employer was a cause in fact of the injury is DEN[ED. As stated in §nLder, "the jury may
consider all evidence relevant to the event leading up to the incident that injured the plaintiff." I_d_.
However, the Court recognizes that the Defendant may not take a legal position that the Plaintiffs
injuries were legally caused by the Employer. For example, Sunbelt may not ask the jury to assign
fault to the Employer.3 Ld. The argument proffered by the Plaintiff that the evidence should
nonetheless be excluded here based on deposition testimony that the Sunbelt employee was not
following proper procedure when the counterweight fell and, therefore, that the Defendant was solely
responsible for the injury, simply has no basis in law. Indeed, the Plaintiff has not cited to any cases
supporting such a position To find for the Plaintiff would effectively preclude Sunbelt from

presenting a defense, an outcome rejected by the Tennessee Supreme Court. _S__e_e g at 256. With

 

3Contrary to the Defendant's position that the Tennessee Supreme Court's decision in
Carroll v. Whitney, 29 S.W.3d 14 (Tenn. 2000) would permit apportionment of fault against an
employer in a third-party action by an employee, Carroll specifically carved out an exception for
workers' compensation cases. ln other words, Carroll confirmed application of the Riding ~
Snyder rule to workers' compensation cases and only departed from it to allow a jury to allocate
fault to immune nonparties (e.g., resident physicians, who, as employees of a state university,
were immune from suit) when a defendant raises the nonparty defense in a negligence action.
§§ Carroll, 295 S.W.Bd at 22; _sg alj Curtis v. G. E. Capital Modular Space, 155 S.W.Bd 877,
882-83 (Tenn. 2005).

 

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all the relevant evidence before it, along with appropriate limiting instructions as set forth in M_er,
the Plaintiffs concerns regarding the assignment of fault to the Employer can no doubt be assuaged.
Accordingly, the motion to exclude evidence at trial that the Employer was the cause in fact of the
injury is DENIED.

IT IS SO ORDERED this 2 day of Au st, 2005.

 

UNIEL BREEN M\
uNDI ED s'rArEs DIsTRlCT JUDGE

   

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